            Case 19-30218-KKS    Doc 9   Filed 03/11/19   Page 1 of 3




                UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

In Re: Grace P. Compton                               Case No. 19-30218-KKS
                                                      Chapter 7
                                                      Judge Specie
       Debtor(s)
____________________________________/

               REPORT AND NOTICE OF INTENTION
       TO SELL PROPERTY OF THE ESTATE BY PRIVATE SALE

TO: Debtor(s), Creditors, and Parties in Interest:
                     NOTICE OF OPPORTUNITY TO
                OBJECT AND REQUEST FOR HEARING
 Pursuant to Local Rule 2002-2, the Court will consider the relief requested
 in this paper without further notice or hearing unless a party in interest
 files a response within twenty-one (21) days from the date set forth on the
 proof of service plus an additional three days for service if any party was
 served by U.S. Mail, or such other period as may be specified in Fed. R.
 Bankr.P. 9006(f). If you object to the relief requested in this paper, you
 must file an objection or response electronically with the Clerk of the
 Court or by mail at 110 E. Park Avenue, Suite 100, Tallahassee, FL 32301,
 and serve a copy on the Trustee, Sherry Chancellor Trustee, 619 West Chase
 St. Pensacola, FL 32502, and any other appropriate person within the time
 allowed. If you file and serve a response within the time permitted, the
 Court will either schedule and notify you of a hearing or consider the
 response and grant or deny the relief requested without a hearing. If you
 do not file a response within the time permitted, the Court will consider
 that you do not oppose the relief request in the paper, will proceed to
 consider the paper without further notice or hearing, and may grant the
 relief requested.
              Case 19-30218-KKS      Doc 9   Filed 03/11/19    Page 2 of 3



NOTICE IS HEREBY GIVEN that the Trustee intends to sell the following
property of the estate of the debtor(s), under the terms and conditions set forth
below:

1) Description and Value of Property: All Bankruptcy Estate’s right, title and
interest in the parcel(s) of non-exempt real property, together with any and all
improvements located thereon, including any and all non-exempt appliances,
window treatments and fixtures as well as any and all tenements, hereditaments
and appurtenances thereto belonging or in anywise appertaining (collectively, the
“Property”) more particularly described as follows:

     Legal: Lot 10-E, Block A, Villas at Silverton, Phase 2, according
to the plat thereof, recorded in plat book 17, page 94, of the Public
Records of Escambia County, Florida.




Property 1- Address: 7898 Stonebrook Dr. Pensacola, FL 32514

2)   Manner of Sale:        Private (x )* Public Auction ( )

3) Terms of Sale:

       a) Purchaser(s): 7898 Stonebrook Dr. Pensacola Land Trust, CDC
Capital Investments LLC as Trustee.
        b) “As is,” “where is” with no warranties expressed or implied. This sale is
subject to any known or unknown, liens, encumbrances, and Debtor’s exemptions;
and any such liens or encumbrances will not attach to the proceeds of this sale.

         c) Purchaser (s) shall pay all applicable State Documentary Stamps.

         d) Selling price as negotiated between the parties, $2,500.00.

      e) All payments shall be made to Sherry Chancellor, Trustee, 619 West
Chase St. Pensacola, FL 32502


*The purchase price(s) was/were established by review of the schedules and any
             Case 19-30218-KKS      Doc 9    Filed 03/11/19   Page 3 of 3



additional documents or testimony provided by parties, negotiated in good faith,
and based on the principles of best business judgment.

*(Applicable to private sales only.) The Trustee will entertain any higher bids of
25% or more for the purchase of the assets of the debtor(s) which the Trustee
proposes to sell. Such bids must be in writing and accompanied by a deposit of
20% of the proposed higher purchase price. Any higher bid must be received, with
the applicable deposit) by the Trustee at the address listed below no later than the
close of business 15 days from the date of this Notice. Should a timely counterbid
be receive; the Trustee will schedule a telephonic meeting for the sole purpose to
allow the bidding parties to compete for the highest bidder. Only parties
submitting a timely bid will be authorized to participate. Failure to submit a timely
bid will be considered a waiver of participation in the bidding process.

NOTICE IS HEREBY GIVEN that all objections to the same must state the basis
of the objection. If no objection is filed, the sale described above will take place.

      Date: 3/11/19


                                              /s/ Sherry Chancellor
                                              SHERRY CHANCELLOR
                                              CHAPTER 7 TRUSTEE
                                              619 West Chase St.
                                              Pensacola, Florida 32502
                                              PH: 850.436.8445
                                              Sherry.chancellor@yahoo.com
